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                     EXHIBIT 19
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    PIT
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          From:                  McCoy, David HHD
                                              -




          Sent:                  Tuesday, September 13, 2016 1:06 PM CDT
          To:                    Breakfast Club Ministry

          Subject:               RE: Charitable feeding event cancellations



          Good afternoon,


          Currently, no city parks or other city owned properties are available for use as charitable feeding event
          sites. Also, the Health Department does not have a list of locations available for event use. Any other
          private properties potentially used for feeding events would have to be sought out by the event holder
          and written permission to use those sites would have to be secured and submitted. You may want to
          contact the local TxDOT Office of Public Affairs to see if they still authorize use of their properties for
          feeding events (freeway underpasses).
          TxDOT Office of Public Affairs
          Raquelle Lewis 713-802-5071
          Karen Othon 713-354-1532
          Danny Perez 713-802-5077
          Deldrea Samuels 713-802-5072

          From: Breakfast Club Ministry
          Sent: Tuesday, September 13, 2016 12:57 PM
          To: McCoy, David HHD
                             -




          Subject: Re: Charitable feeding event cancellations

          Hello David,

          We would like to know if you have any    updates on the feeding events. We are dedicated to our
          community specifically
                       and             with  our homeless populations. We are very anxious about getting
          back into the parks and serving our community. Please let us know if we are able to continue
          serving in the parks and if not, do you happen to know where we would be able to serve food to
          the homeless.

          Kind regards,
                  Perez
          =
          On Tuesday, July 5, 2016, McCoy, David HHD <David.McCoy@houstontx.gov> wrote:
                                                                  -




          Good morning,

          Due to increased   safety
                                  hazards at some             City park feeding
                                                                     locations, the Parks and Recreation
          Department,  in collaboration with the Mayor’s office, has had to cancel all scheduled feeding
          events until further notice.Apparently, there was a drug use related emergency at Peggy’s Point
          in the past few days similar to the one that recently occurred in Hermann Park related to Purple
          Kush use. I apologize for this late notice as I know that many of you are currently scheduled to
          hold events. Some of you may have already been notified in the past few days, but the holiday
          weekend made it impossible for me to get the word out until this morning. It is my




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understanding that the Mayor’s office will be attempting to create a plan that will allow feeding
events to proceed in what I hope will be in the not too distant future. It is also my hope that all
of you will be able to find ways to continue your community service. Please understand that this
has become a public health and safety issue that necessitated this action and that every effort will
be taken to rectify and solve it as soon as possible.




                                                                                                       COH 025693
